USDC IN/ND case 2:18-cr-00033-PPS-JEM document 49 filed 12/14/18 page 1 of 8


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              )
                                                )
                v.                              )        Case No. 2:18 CR 33
                                                )        Judge Philip P. Simon
SAMANTHA ELHASSANI,                             )
                                                )
                        Defendant.              )
               DEFENDANT’S EMERGENCY MOTION FOR PRE-TRIAL
             RELEASE ON CONDITIONS, AND REQUEST FOR A HEARING

        Defendant, SAMANTHA ELHASSANI, by and through her attorneys, THOMAS

ANTHONY DURKIN and JOSHUA G. HERMAN, pursuant to the Bail Reform Act of 1984,

18 U.S.C. § 3142, et seq., as well as the Due Process, Effective Assistance of Counsel, and

Excessive Bail clauses of the Fifth, Sixth and Eight Amendments to the Constitution of the

United States, respectfully moves this Court for its Order permitting pre-trial release on

conditions as Defendant can now rebut the statutory presumption that she is a flight risk and a

danger to the community; and, insofar as the emergency nature of this motion is concerned, she

is desperately in the need of mental health treatment which she has not received and cannot be

afforded in the custody of the U.S. Marshal. This motion is filed on an emergency basis with a

request for a hearing pursuant to 18 U.S.C. § 3142(f) as soon as practicable.1

        In support of this motion, Defendant, through counsel, shows to the Court the following:

        1.      For two horrific years Defendant was held hostage in ISIS-controlled Raqqa,

1
  At the November 1, 2018 status conference, undersigned counsel indicated to the Court the possibility of
this Motion. While counsel do not have a transcript of that proceeding, our notes and recollection reflect
that there was a very brief discussion concerning whether the Motion should be presented to the
USDC IN/ND case 2:18-cr-00033-PPS-JEM document 49 filed 12/14/18 page 2 of 8



Syria, where she endured and survived constant violence, warfare, torture, and physical and

sexual abuse. After intense bombardment by Syrian Defense Forces (SDF) and other military

groups backed and supported by the United States, Defendant was somehow able to escape

certain death in Raqqa with her own four children and three other minors in her care. It is not

too much to say that those seven children owe their lives to Defendant and her arduous but

successful escape from Raqqa. Defendant finally felt some sense of relief and security when she

encountered Kurdish People’s Protection Units known as the YPG and an associated group

called the YPJ. But this, too, was short-lived as she was soon transferred to two Syrian prison

camps run by the Syrian Democratic Forces (SDF).2

        2.      Through some apparent arrangement with local foreign military forces, the FBI

interviewed Defendant multiple times in late November 2017 while she was detained in the

Syrian camps. During those interviews, Defendant repeatedly expressed her desire to return to

the United States. The FBI finally obliged those requests, but not until late July 2018 when,

pursuant to an arrest warrant issued upon the return of a sealed indictment in this district (Dkt.

#10), it placed Defendant and her four children on a military cargo transport plane that landed in

Gary, Indiana. Defendant was immediately separated from her children and then taken before




2
  The YPG is a Kurdish militia force that operates in Syria and is a part of the SDF. The YPJ is also a
Kurdish group comprised mainly of women that fights alongside the YPG. The United States has
provided military, logistical, and other support to these groups during the Syrian War. See, e.g., Tom
Perry, Orhan Coskun, U.S.-led coalition helps to build new Syrian force, angering Turkey, Jan. 14, 2018,
available at: https://reut.rs/2ETyUmB (last visited Dec. 13, 2018); People’s Protection Units, Wikipedia,
https://bit.ly/2DITZjY (last visited Dec 13, 2018).




                                                   2
USDC IN/ND case 2:18-cr-00033-PPS-JEM document 49 filed 12/14/18 page 3 of 8



Magistrate Judge Martin.3

        3.      Defendant made her initial appearance on July 25, 2018, and was later found to be

eligible for appointed counsel. (Dkt. #9). That appearance was made without counsel. (Id.).

Defendant was before the Court again on July 25, 2018, and was found to be eligible for

appointed counsel. (Dkt. #14). Undersigned counsel was then appointed to represent Defendant

under the CJA on July 25, 2018. (Dkt. #14). An order of detention was also issued without

objection. (Dkt. #15). Pursuant to that order, after counsel informed the Court that he was not

ready to propose release conditions, Defendant was detained without prejudice and remains so to

this day at the Porter County Jail. Counsel for Defendant specifically reserved the right to a

subsequent release hearing upon giving advance notice to the government, which they gave to

the AUSAs in a telephone call on December 3, 2018 after meeting with Defendant.

        4.      This case is one of first impression in this District. It is also one of a very few, if

any, cases prosecuted nationally under the government’s national security policy of detaining

and charging an American citizen who was at one time in ISIS-controlled territory in Syria. It is


3
  The indictment in this case was returned on March 21, 2018, and charged Defendant with making a false
statement to the FBI on March 19, 2015, in violation of 18 U.S.C. § 1001. (Dkt. #1). Upon the return of
the indictment, the government moved to seal the case until Defendant’s arrest. (Dkt. #2). That request
was granted and the matter was sealed. (Dkt. #3). On July 24, 2018, the government moved to unseal the
matter and entire court file, with specified exceptions for matters that remained under seal. (Dkt. #7). The
government requested that its Motion for the Case to Remain Under Seal Pending Arrest and to Allow the
Government to Share Indictment and Arrest Warrant with Necessary Third Parties remain under seal.
Those pleadings, filed on March 23, 2018, do not appear on the docket. On August 22, 2018, a
superseding indictment was returned by the grand jury. (Dkt. #23). The superseding indictment charges
Defendant with Conspiracy to Provide Material Support to ISIS, from Fall 2014 through Summer 2015, in
violation of 18 U.S.C. §2339B(a)(1) (Count One) and Aiding and Abetting two individuals in Providing
Material Support to ISIS, from March 23, 2015 through April 7, 2015, in violation of 18 U.S.C. §2,
§2339B.




                                                     3
USDC IN/ND case 2:18-cr-00033-PPS-JEM document 49 filed 12/14/18 page 4 of 8



certainly the only case undersigned counsel are aware of that charges a non-Muslim, non-ISIS

member fighter for having gone to Syria with her husband and children. This prosecution,

therefore, necessarily raises numerous political and constitutional questions that are beyond the

scope of this motion, but will become evident as the case progresses. More germane to this

motion insofar as the strength of the government’s evidence is concerned, is that this is hardly

the typical material support for terrorism case. In fact, this case can readily be seen to be a case

about Defendant’s Muslim husband and his brother, both of whom became ISIS fighters in Syria.

Defendant, who is neither Muslim, nor a supporter of ISIS or any other terrorist organization,

was compelled, both psychologically and physically, to follow her husband’s and his brother’s

absurd ideas.

       5.       Defendant’s lack of radicalization and/or present danger to the community cannot

realistically be disputed by the government and is so far confirmed by all the discovery. This,

too, has been confirmed by a nationally known and highly respected forensic psychiatrist who

has been appointed by the Court. At counsel’s direction, Defendant was assessed on August 28,

2018, by Dr. Stephen N. Xenakis, M.D., of Arlington, Virginia, a psychiatrist and retired

Brigadier General of the United States Army, who has extensive experience in conducting

forensic psychiatric analysis of persons accused of terrorism. Dr. Xenakis has also provided a

letter based on his meeting with Defendant as well as his understanding of her current

medications and status. A copy of that letter will be submitted under seal as Exhibit A. As is

evident in the letter presented by Dr. Xenakis, which could be supplemented by his live

testimony should the Court so require at a hearing, it is his professional opinion that Defendant is

in need of treatment for ongoing mental health issues that have resulted from the severe trauma



                                                 4
USDC IN/ND case 2:18-cr-00033-PPS-JEM document 49 filed 12/14/18 page 5 of 8



that she suffered at the hands of her husband and the crazy ordeal that he put her and her children

through. It is further evident that Defendant is unable to receive this treatment at the Porter

County Jail and that her condition has continued to deteriorate, causing undersigned counsel

great concern.

        6.       In light of this brief background, and as will be further elucidated at an

evidentiary hearing and supplemented with further briefing as necessary, Defendant can surely

be said to be able to rebut the statutory presumption that she is a flight risk and a danger to the

community. As this Court is aware, under 18 U.S.C. § 3142(e), a person may only be detained

before trial if it is found that no condition or combination of conditions of an indicted defendant

“will reasonably assure the appearance of the [defendant] ... and the safety of any other person

and the community.” Counsel further appreciates that the material support charges brought

under §2339B create a rebuttable presumption for detention pursuant to §3142(e)(3)(C). That

presumption is, however, only categorical and not individual.                      It is also rebuttable, not

mandatory. Thus, the statute clearly permits release even for individuals charged under the

terrorism statutes.4       The overriding question remains whether there are conditions or

combinations of conditions that will reasonably assure the appearance of Defendant as required

and the safety of any other person and the community. 18 U.S.C. § 3142(c).

        7.        Importantly, a defendant rebuts the statutory presumption by meeting a “burden

of production,” which involves coming forward “with some evidence that he will not flee or

endanger the community if released.” United States v. Dominguez, 783 F.2d 702, 707 (7th Cir.

4
  While counsel concede that few Defendants charged in material support cases are released pre-trial, this is not a
material support case insofar as Defendant is concerned. Instead, it is more accurately described as a proxy
terrorism case against her dead husband.




                                                        5
USDC IN/ND case 2:18-cr-00033-PPS-JEM document 49 filed 12/14/18 page 6 of 8



1986). In Dominguez, the Seventh Circuit clearly held how the “burden of production is not a

heavy one to meet.” Id. Additionally, the burden of persuasion ultimately remains with the

government. Id. Further, the facts that the Court uses to support a finding of detention, in that

no condition or combination of conditions will reasonably assure the safety of another person or

the community “shall be supported by clear and convincing evidence.”                 18 U.S.C. §

3142(f)(2)(B).

       8.        As will be further adduced at the hearing, and is only offered by brief proffer

here, Defendant cannot be said to be a flight risk. Indeed, in the Fall of 2017, Defendant escaped

from ISIS-held territory with seven minors in her charge and into the control of the YPG and

SDF. Efforts were underway for her to return to the United States, and she likely would have

done so prior to the FBI interceding, and also if she had the means and would not have faced

certain death (and the likely death or loss of her children) if caught. Additionally, there is no

persuasive evidence that Defendant poses a danger to the community.             Moreover, as the

government knows full well—and which can be set forth in further detail to the Court, in camera

if necessary—Defendant has a long history of being compliant and cooperative with the FBI.

       9.        But most importantly, release on strict conditions should be afforded to avoid the

real risk of further ongoing deterioration of her mental health while she remains in custody

without access to any meaningful mental health care. Defendant’s ongoing detention and lack of

meaningful treatment runs counter to every diagnostic and professional standard for survivors of

abuse, much less the torture and trauma that Defendant endured and which continues to torment

her. Such ongoing confinement can only be described as cruel and unnecessary when there are

meaningful alternatives that may be available.



                                                 6
USDC IN/ND case 2:18-cr-00033-PPS-JEM document 49 filed 12/14/18 page 7 of 8



       WHEREFORE, for the foregoing reasons, and as can be supplement at a hearing or

through further pleadings, Defendant respectfully requests that the Court order her pre-trial

release on conditions, and further requests a hearing pursuant to the provisions set forth in 18

U.S.C. § 3142, et seq.


                                                   Respectfully submitted,

                                                   /s/Thomas Anthony Durkin
                                                   THOMAS ANTHONY DURKIN,
                                                   Attorney for Defendant.

                                                   /s/Joshua G. Herman
                                                   JOSHUA G. HERMAN,
                                                   Attorneys for the Defendant.


THE RERUM NOVARUM HUMAN AND
CIVIL RIGHTS CENTER OF CHICAGO
DURKIN & ROBERTS
2446 North Clark
Chicago, Illinois 60614
(312) 913-9300
tdurkin@durkinroberts.com


LAW OFFICE OF JOSHUA G. HERMAN
53 W. Jackson, Blvd., Suite 1650
Chicago, IL 60604
Tel: (312) 909-0434
jherman@joshhermanlaw.com




                                               7
USDC IN/ND case 2:18-cr-00033-PPS-JEM document 49 filed 12/14/18 page 8 of 8



                               CERTIFICATE OF SERVICE

       Thomas Anthony Durkin, Attorney at Law, hereby certifies that the foregoing
Defendant’s Emergency Motion for Pre-Trial Release on Conditions, and Request for a Hearing,
was served on December 14, 2018, in accordance with Fed.R.Crim.P.49, Fed.R.Civ.P.5, LR 5.5,
and the General Order on Electronic Case Filing (ECF) pursuant to the district court’s system as
to ECF filers.

                                                   /s/ Thomas Anthony Durkin
                                                   THOMAS ANTHONY DURKIN,
                                                   2446 N. Clark Street
                                                   Chicago, IL 60614
                                                   (312) 913-9300
                                                   tdurkin@durkinroberts.com
